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 Pro Sc 1 (Rev. 12/16) Complaint for a Civil Case



                                          United States District Court
                                                                      for the                       2013 OK -5 P t 51
                                                                     District of
                                                                                                      .          ^ 'I-
                                                                                                ALiiV,                       (/>\
                                                                         Division



                                f&z?
                                                                                 Case No.
                                                                                               (to befiled in by the Clerk'spffce)
//g^V4/v'/342 / fe.ups-r^"-^'^                                                                                      LoJffe£>
                                Plaintiff(s)
 (Write thefull name ofeach plaintiffwho isfiling this complaint.
 Ifthe names ofall the plaintiffs cannotfit in the space above,                  Jury Trial: (check one)     I I Yes 1 I No
 please write "see attached" in the space and attach an additional
 page with thefull list ofnames.)
                                    -V-




                                          Imc

                               Defendant(s)
 (Write thefull name ofeach defendant who is being sued. Ifthe
  names ofall the defendants cannotft in the space above, please
  write "see attached" in the space and attach an additional page
  with thefull list ofnames.)



                                                    COMPLAINT FOR A CIVIL CASE


  1.        The Parties to This Complaint
             A.        The PIaintiff(s)

                        Provide the information below for each        p1aintiff'n mne'fln^^''c(^i^^Sf"^ttach additional pages if
                        needed.

                                  Name                                                      feup^'^(C^MeVSZ.
                                   Street Address                                                            .




                                   City and County                   Sic\/cii                       JUj).
                                   State and Zip Code
                                   Telephone Number                             4S(-S7-70
                                   E-mail Address                    \aIi rT(£^ iA/z-rTgA/^gi/et:          ilyTTZusT.


             B.         The Defendant(s)

                        Provide the information below for each defendant named in the complaint, whether the defendant is an
                        individual, a government agency, an organization, or a corporation. For an individual defendant,
                        include the person's job or title (ifknown). Attach additional pages if needed.
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                               Under Seal


  Jurisdiction: a special cause arising under the constitution ofthe

  United States and laws ofthe United States original Judiciary Act

  of 1789(1 Stat. 73), original exclusive jurisdiction of equity and

  co-ordinate and co-extensive to the forms, practice, mode and

  procedure ofthe federal equity rules of the United States 1912, and

  Supreme Court of the United States Rule 48.2.




                Chancery Division's Original Jurisdiction
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